Case 1:18-cv-00443-ACK-KJM   Document 10    Filed 01/07/19   Page 1 of 1 PageID.47



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF HAWAI`I
                                                                FILED IN THE
 ___________________________________                   UNITED STATES DISTRICT COURT
                                                            DISTRICT OF HAWAII
 Ronald Satish Emrit,                )                   Jan 07, 2019, 2:46 pm
                                     )                       SUE BEITIA, CLERK

                      Plaintiff,     )
           v.                        ) Civ. No. 18-00443 ACK-KJM
                                     )
 Montevista Mental Hospital          )
                                     )
                      Defendants.    )
 ___________________________________)

   ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATION

             Findings and Recommendation having been filed and

 served on all parties on December 21, 2018, and no objections

 having been filed by any party,

             IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to

 Title 28, United States Code, Section 636(b)(1)(C) and Local

 Rule 74.2, the “Findings and Recommendation to Grant Plaintiff’s

 Application to Proceed in District Court Without Prepaying Fees

 or Costs and Dismiss the Complaint Without Prejudice” are

 adopted as the opinion and order of this Court.

             IT IS SO ORDERED.

             DATED:   Honolulu, Hawai`i, January 7, 2019




                              ________________________________
                              Alan C. Kay
                              Sr. United States District Judge


 Emrit v. Montevista Mental Hospital, Civ. No. 18-00443 ACK-KJM, Order
 Adopting Magistrate Judge’s Findings and Recommendation.


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